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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



  DISTRICT OF COLUMBIA,

                        Plaintiff,

                 v.
                                                     Case No. 21-cv-03267 (APM)
  PROUD BOYS INTERNATIONAL,
  L.L.C., et al.,

                        Defendants.



  CONRAD SMITH, et al.,

                        Plaintiffs,

                 v.
                                                     Case No. 1:21-cv-02265 (APM)

  DONALD J. TRUMP, et al.,

                        Defendants.


    [PROPOSED] ORDER REGARDING COORDINATION OF DISCOVERY

       In the interests of efficient, reasonable, and cooperative discovery among the parties

to the above-captioned case, the Court Orders as follows.

                                      DEFINITIONS

       1.     “AEO Material” means material that qualifies as “Attorney’s Eyes Only

Material” or “AEO Material” as described in Paragraph 1(b) of the Stipulated Protective

Order in District of Columbia v. Proud Boys International, LLC, et al., Case No. 21-cv-
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03267-APM, Dkt. 297 (D.D.C. May 16, 2024), Paragraph 1(b) of the Stipulated Protective

Order in Smith et al. v. Trump et al., Case No. 21-cv-02265, Dkt. 294 (D.D.C. May 15,

2024), or any future confidentiality or protective order entered in those cases.

       2.        “Confidential Material” means material that qualifies as Confidential

Material as that term is defined in Paragraph 1(a) of the Stipulated Protective Order in

District of Columbia v. Proud Boys International, LLC, et al., Case No. 21-cv-03267-

APM, Dkt. 297 (D.D.C. May 16, 2024) or Paragraph 1(a) of the Stipulated Protective Order

in Smith et al. v. Trump et al., Case No. 21-cv-02265, Dkt. 294 (D.D.C. May 15, 2024), or

any future confidentiality or protective order entered in those cases.

       3.        “Confidentiality Order” means the Stipulated Protective Order in District of

Columbia v. Proud Boys International, LLC, et al., Case No. 21-cv-03267-APM, Dkt. 297

(D.D.C. May 16, 2024), the Stipulated Protective Order in Smith et al. v. Trump et al., Case

No. 21-cv-02265, Dkt. 294 (D.D.C. May 15, 2024), or any future confidentiality or

protective order entered in those cases.

       4.        “Coordinated Cases” means District of Columbia v. Proud Boys

International, LLC, et al., Case No. 21-cv-03267-APM (D.D.C.), along with Smith et al.

v. Trump et al., Case No. 21-cv-02265 (D.D.C.).

       5.        “Coordinated Discovery Period” means the period from this Order’s

Effective Date through the fact discovery cut off in each of the Coordinated Cases. For

clarity, in the event cases end fact discovery on different dates, each case will no longer be

considered to be in the Coordinated Discovery Period as of the end of fact discovery in that

specific case.




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       6.      “Counsel” means any and all counsel for the District or any Smith Plaintiff,

including outside counsel, whether or not such counsel has formally appeared in these

proceedings.

       7.      “Cross Notice” means to send a notice of intent to take a deposition of a

person under the Federal Rules of Civil Procedure, after another Party has Noticed a

deposition of the same witness.

       8.      “Defendant(s)” means any named Defendant in these Coordinated Cases.

       9.      “Deposition Limit” means the number of depositions allowable under

Federal Rule of Civil Procedure Rule 30(a)(2)(A)(i) or any order issued in any of the

Coordinated Cases as it applies to any Party.

       10.     “Deposition Notice” means a notice of intent to take a deposition of a person

under the Federal Rules of Civil Procedure.

       11.     “District” means the District of Columbia, or Washington, D.C.—the

municipal corporation and local government for the territory constituting the permanent

seat of the government of the United States.

       12.     “District Court” means the United States District Court for the District of

Columbia.

       13.     “Non-Party” means an individual who is not a Party, and the term shall

include any individual corporate designee under Federal Rule of Civil Procedure 30(b)(6).

       14.     “Notice(s)” means serving a Notice of Deposition or Subpoena to Testify at

Deposition.




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       15.     “Noticing Party” or “Cross-Noticing Party” means, with respect to a

particular deposition, a Party that sends a Deposition Notice, Cross Notice, or Subpoena

for that deposition.

       16.     “Non-Noticing Party” means, with respect to a particular deposition, any

Party other than the Noticing Party.

       17.     “Organizational Defendant” means any non-individual Defendant, i.e.,

Proud Boys International, LLC, Oath Keepers, Donald J. Trump for President, Inc., Stop

the Steal LLC, Proud Boys, and Make America Great Again PAC.

       18.     “Party” means any Plaintiff or Defendant named in any Coordinated Case.

       19.     “Plaintiffs” means all Plaintiffs named in each Coordinated Case and

“Plaintiff Party” means either Plaintiff named in either Coordinated Case.

       20.     “Protective Order” means Confidentiality Order.

       21.     “Shared Discovery” means documents and data produced by Parties and

Non-Parties during fact discovery in a Coordinated Case, not including expert discovery.

       22.     “Smith Case” means the case styled Smith et al. v. Trump et al., Case No.

21-cv-02265 (D.D.C.).

       23.     “Smith Plaintiff(s)” means any and all Plaintiffs in the Smith Case.

       24.     “Transcript” means any recording of testimony, including but not limited

to, recordings by stenographic means, audio recording, video recording, or recording via

any online platform.

                            I.         SHARED DISCOVERY

       A.      Notwithstanding the Protective Orders, Counsel may disclose Shared

Discovery to any other Counsel.



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               1.      Confidential Material: Shared Discovery that was produced and

designated as Confidential Material in any Coordinated Case may be used in any other

Coordinated Case only to the extent that Confidential Material may be used under the

Confidentiality Order in the case it was produced in.

               2.      AEO Material: Shared Discovery that was produced and

designated as AEO Material in any Coordinated Case may be used in any other

Coordinated Case only to the extent that AEO Material may be used under the

Confidentiality Order in the case it was produced in.

               3.      Subject to sub-paragraphs (I)(A)(1)-(2), Shared Discovery that was

produced in a Coordinated Case may be used in any Coordinated Case for any purpose

permissible under the Federal Rules of Evidence and the Federal Rules of Civil

Procedure (including for purposes of impeachment at trial), as if the Shared Discovery

had been produced in that case.

               4.      Any Party in requesting discovery from a Non-Party in connection

with a Coordinated Case shall provide the Non-Party from which it seeks discovery with a

copy of this Order so as to inform the Non-Party of his, her, or its rights herein.

     II.      DEPOSITIONS TAKEN DURING COORDINATED DISCOVERY
                                PERIOD

         A.    During the Coordinated Discovery Period, the following provisions shall

apply:

               1.      The Parties in the Coordinated Cases shall serve any Deposition

Notice or Cross Notice on all Parties in the Coordinated Cases. The deposition will count

against any Deposition Limit applicable to each Noticing and Cross Noticing Party (unless




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the deposition does not take place or the Party withdraws the Notice), but will not count

against the Deposition Limit applicable to any other Party.

                       a)      Deposition Notices must be sent at least fourteen (14) days

before the proposed Deposition date.

                       b)      Cross Notices must be sent within five (5) business days of

receipt of the Deposition Notice.

                       c)      Except as otherwise ordered by the Court, any witness who

appears for a Party Deposition or a Non-Party Deposition taken during the Coordinated

Discovery Period cannot be compelled to appear for a second deposition in any

Coordinated Case (including a second Rule 30(b)(6) deposition of the same Organizational

Defendant on the same or substantially similar topics).

               2.      Notwithstanding the Protective Orders, Counsel may disclose

Transcripts and exhibits from depositions taken during the Coordinated Discovery Period

to any other Counsel. Subject to the Protective Orders, Transcripts and exhibits from

depositions taken in a Coordinated Case during the Coordinated Discovery Period may be

used in any Coordinated Case for any purpose permissible under the Federal Rules of

Evidence and the Federal Rules of Civil Procedure (including for purposes of impeachment

at trial), irrespective of whether any specific Party Noticed or Cross Noticed the deposition.

               3.      Nothing in this Order shall prevent a Party from seeking the Court’s

leave for additional time to examine a witness.




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                   III.     TIME ALLOCATIONS AT DEPOSITIONS

During the Coordinated Discovery Period, the following provisions shall apply:

       A.     Depositions Taken Of A Party

              1.          If any Party Notices any other Party’s Deposition, and no other

Party Cross Notices the deposition, then the Noticing Party shall have six (6) hours

on the record to examine the witness, and the Non-Noticing Party or Parties will

collectively have up to three (3) hours on the record to examine the witness. The Non-

Noticing Party or Parties have the right to yield some or all of their time to the

Noticing Party and if the Non-Noticing Party or Parties decline to examine the

witness or examine the witness for a total of less than three (3) hours then any

unused time will automatically yield to the Noticing Party, provided that the

Noticing Party will have no more than seven (7) hours total on the record to examine

the witness and the witness shall not be deposed for longer than nine (9) hours on

the record.

              2.          If the District and the Smith Plaintiffs both Notice or Cross

Notice a Party’s Deposition, where one or more other Defendant Parties have also

Noticed or Cross Noticed that deposition, the District shall have three (3) hours on the

record to examine the witness, the Smith Plaintiffs shall have three (3) hours on the

record to examine the witness, and the Defendant Party or Parties that have also

Noticed or Cross Noticed the same deposition shall collectively have three (3) hours

to allocate amongst themselves to examine that witness on the record. If the Noticing

or Cross-Noticing Defendant Party or Parties decline to examine the witness or

examine the witness for a total of less than three (3) hours, then any unused time will


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automatically yield to the Plaintiff Parties and will be evenly divided between the

District and the Smith Plaintiffs, such that the District will have a total of up to four

and one half (4.5) hours and the Smith Plaintiffs will have a total of up to four and

one half (4.5) hours on the record to examine the witness. In addition, either the

District or the Smith Plaintiffs may yield some or all of their time to the other,

provided that the Plaintiff Party to which time has been yielded will not have more

than seven (7) hours total on the record to examine the witness. Any Non-Noticing

Parties may examine the witness on the record for any remaining time, provided that

the witness shall not be deposed for longer than nine (9) hours on the record.

               3.      If a deponent is Noticed by Plaintiffs in both of the Coordinated

Cases, but is only a Party in one of the Coordinated Cases, then, regardless of whether

any other Party Notices or Cross-Notices that deposition, the Plaintiffs in the litigation

where the deponent is a Party shall have seven (7) hours on the record, and the Plaintiffs

in the litigation where the deponent is not a Party shall have two (2) hours on the record.

In such a case, either the District or the Smith Plaintiffs may yield some or all of their

time to the other, in which case the Party to which time has been yielded may have

up to seven (7) hours on the record.

               4.      If the District or the Smith Plaintiffs (but not both) Notice or

Cross Notice a Defendant Party’s Deposition, where one or more other Defendant

Parties have also Noticed or Cross Noticed that deposition, the Plaintiff Party shall

have six (6) hours to examine the witness on the record, and the Defendant Party or

Parties who have also Noticed or Cross Noticed the same deposition shall have three

(3) hours to allocate amongst themselves to examine that witness on the record. If


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the Noticing or Cross-Noticing Defendant Party or Parties collectively examine the

witness for a total of less than three (3) hours, then any unused time will automatically

yield to the Plaintiff Party, such that the Plaintiff Party may have up to seven (7) total

hours on the record to examine the witness, provided that the deposition shall not

exceed nine (9) hours of record time.

               5.     In any situation in which more than one Defendant from the

Coordinated Cases Notice and/or Cross Notice the deposition of a Plaintiff Party,

each Noticing or Cross-Noticing Party shall have an amount of time on the record to

examine the witness equal to the quotient of (9) hours divided by the collective

number of Noticing and Cross-Noticing Parties.

               6.     Depositions that exceed seven (7) hours may be completed in a

single day or over the course of two consecutive days, depending on the deponent’s

preference.

       B.      Depositions Taken of Non-Parties

               1.     If any Party Notices a Non-Party Deposition, and no other

Party Cross Notices the deposition, then the Noticing Party will have six (6) hours

on the record to examine the witness, and any Non-Noticing Party or Parties in the

Coordinated Cases will collectively have three (3) hours on the record to examine the

witness. The Non-Noticing Party or Parties have the right to yield some or all of

their time to the Noticing Party and if the Non-Noticing Party or Parties decline to

examine the witness or examine the witness for a total of less than three (3) hours

then any unused time will automatically yield to the Noticing Party, such that the

Noticing Party will have up to seven (7) hours total on the record to examine the

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witness.

               2.     If the District and the Smith Plaintiffs both Notice or Cross

Notice a Non-Party’s Deposition, and no other Party Notices or Cross Notices that Non-

Party’s Deposition, then the District will have four and one half (4.5) hours on the

record to examine the witness, and the Smith Plaintiffs will have four and one half

(4.5) hours on the record to examine the witness. In such a case, either the District or

the Smith Plaintiffs may yield some or all of their time to the other, in which case the

Party to which time has been yielded may have up to seven (7) hours on the record.

Any Non-Noticing Parties may examine the witness on the record for any remaining

time, provided that the witness is not deposed for longer than nine (9) hours on the

record.

               3.     In any other situation in which more than one Party from the

Coordinated Cases Notices and/or Cross Notices a Non-Party’s Deposition (i.e., not

otherwise addressed in this Part B), each Noticing or Cross-Noticing Party shall have

an amount of time on the record to examine the witness equal to the quotient of nine

(9) hours divided by the collective number of Noticing and Cross-Noticing Parties.

               4.     Depositions that exceed seven (7) hours may be completed in a

single day or over the course of two consecutive days, depending on the deponent’s

preference.

IV.       EFFECTIVE DATE

          A.   This Order shall be effective when signed by the Court’s signature and

entered on the record.



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IT IS SO ORDERED.

On this ____ day of ________, 2024.   ____________________________________

                                      The Honorable Amit P. Mehta

                                      United States District Court Judge




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